Case 1:21-cv-00129-RJS Document 10-9 Filed 12/28/21 PageID.195 Page 1 of 11




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 Case 1:21-cv-00129-RJS Document 10-9 Filed 12/28/21 PageID.196 Page 2 of 11




                                                 DAVIS COUNTY JAIL
                     RELIGIOUS OR RESTRICTED MEAL PLAN REQUEST

    INMATE NAME:            Mbf'L. t\ &l'l..f                                              oATe: 1 I~c           /t:q_
    IN~TE NUMBER:              ,SQ~l/03                                  __ HOUSING UNIT:        r-     1
                                                                                                       1[

             NAME OF RELIGION OR TYPE OF DIET:.                          \S\Qll'\ai~(})/,W,
                                                                                    1
             Describe the type of Olet and Speclflcttles required:

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                                                                                                   t ew a,. a"''i n~ ~
            For Rellgloua diets, the Inmate requesting a diet shall be an acllvely pracUclng member
            of the Rellglou1 Group. Every attempt will be made to aerve the meal Items unique lo the
            dietary law, or that rellglon. However, this Religlous group MUST be legally recognized by
            the judicial 1ystem II warranting special foods. (I.a.legal precedence hH been
            Htabllahed)



   I have requHted thlw rtlrgfou, diet which meets the dietary laww of my choaen
  rellglonlperaonal belief,. I know thet If violate
                                              ..,.                   dietary paramttars of this plan (I.e. not pick
  up the tray). I may be removed fr                                     mediately ;ind pormanently.


  INMATE SIGNATURE:             --~=,,L!=::::::...---------._                                       DATe-21M.'to




 DESIGNATED ADMINISTRATOR

COMMENTS ON THIS MEAL PLAN: PLEASE NOTE THAT THE Q&X..RELIOIOUS MEAL PLAN
APPROVED TO BE SERVED AT THIS TIME IS:
IF TH  MATE REQUIRES ANY OTHER MEAL...,P=l..,.A~N-.T,,..H....,e"'""o"""1""'eT"""1=r,~A~N~M"!":'U~S~T~B~E~C~O=-=N-==T~AC·reo
 .   . THE MEALS M       ERVEO. (A:C.A Standard}

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-             Case 1:21-cv-00129-RJS Document 10-9 Filed 12/28/21 PageID.197 Page 3 of 11



                          DAVIS COUNTY JAIL
        .                   Watch Commander
Name: ANGEL CHRISTOPHER             Inmate 10#139s4o3
ABREU                               Date: 09/14/2020
Housing Unit. Q-21 ;DCCF• POD6•
QUEBEC                  '      '
Inmate Bequeat
09/14/2020 10:18: 14
im documenting a complaint againt deputy olsen(thc younger one) who worked 9/11 /20 on friday.  m~r:yTh has been I few shifts olsen
                                                                                                            him. Toe worse has been
has worked in the same section as me and every time he has worked I have been harrassed and p~o I d sec if i had somo. thats very .
on 9/11. The shift startcdwithmc asking for tp and him popping my door at 6am to search my eel an dwhcn iwallced outthe section 1
extra. im grown and dont need to play hideand seek with tp. Later thatmoming i had a doctors app 1111 •ng the necklace with any
was told to remove my muslim religion neck.lace and told i cant wear il. ive never ~~d a probl~m ::':o that. Also while we walked
depuly _before this. but i have bad multiple problems with the jail accepting my rcl!g1on aud lhts I hands behind my back. when
to medical olsen. kept ~aking unnecoisaary comments and commands such as; t!lhng me to _PUt mio to my shirt as it was m my
 they already ws;re, tcllang me towalkfaster andthcn telling me to slow down, telling me to ohptrr d searched bcforehe let me go to
 pocket and when i told him i dldnt have a ctiphe made n big dent oflt, also i was damn near 8 P~ wasnt in the best mood due to
 medical and made me take mysboes and socks offin the middle of the hallway, also after my app I tically asked me what is such a
 the news i got from the dr andi was keeping to myself. olsen continued to ho.rrass me and ev~n sarcas rcssio me.ultimatelythis made
                                           h~lr:y Jks
 big deal wilh you. i told him i didnt get good news and would rather keep to myself but he 51\11 ~pt P h
 me not even want to seek the medical tretment i need and it makes me feel very uneo_mf~rt.ab e t
  tho way down to the wayhe grabbed mein certain placesdurring the search. id appreciate1t 1fhc c I c ou
                                                                                                          et
                                                                                                                 to and treated me all


 Inmat e Signature/Date:~=~=.:.=====---=----_:~----------------
 StaffRs;spgose;
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                    : sizesform
                            - dex.tended
                                .        response, this barely showed up in the system for some odd reason.
 Staff Siaoeture/Pa,te;
                                               Case 1:21-cv-00129-RJS Document 10-9 Filed 12/28/21 PageID.198 Page 4 of 11
                                                        Davis County Sheriff's Office
                                                                                                         Correctional Division
                                                                   Inmate Re{J_uest and Grievance Form _
                                                                                                                                                                                                                                                      ,..-

Name             '-· ·                            --                                                         Inmate #              ·_ ·'. - ~              -                                             Housing Unit

Date                                                              Check One:                   ( ) Request           (-) i_nmate Grievance            ( ) Good Time                                      ( ) Discipiinary Appeal                                                  { ) Other

Describe Probiern or Request:                                                                                                                              - . -·  ·                    --    '\    · .....                ..!   '.,

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DC, Form 501a (revixd 0:t-29-'J<,)
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                                                 Case 1:21-cv-00129-RJS Document 10-9 Filed 12/28/21 PageID.199 Page 5 of 11
                                                                Davis
                                                                                                                                   Correctional Division ·
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        Name _____;______________ Inmate #                                                                                                                                                     ::> ·-(,<·.          '~ ·                                                               Housing Unit

        Date                                                    Check One:                               ( ) Request                                     (<.) Inmate Grievance                                                      ( ) Good Time                                      ( ) Disciplinary Appeal                                                                  () Other


        Describe Problem or Request:                                                    -                                                                 .
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     Original. Classification File Yellow· Inmate w/r.,sponse                            Pink· Jnmate                                                  , ·'                    ~--- · · •·         '
     DCJ forn, 501a (revised 02-29-96)
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          Case 1:21-cv-00129-RJS Document 10-9 Filed 12/28/21 PageID.200 Page 6 of 11




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                         :            Davis County Sheriff's Office
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                                       Inmate Request and Grievance Form
          N11mc     At-Jt,eL /lcf'M-A                   _         (nmatc #      3,G gt/,o "3                   Housing Unit        +:=- \)
          Date    fJ  Le:,/ZO          0leck One1        () Rcq11u\      ~ t e OricYMIQI       () Good 'tlme    () Dbdplllwy A{lptl\       0 Other

          Dcsaibc Problem or Request: .::..Z.l.rll..f.......:....L.£:.u.&.c!Al:'XJ.::::!.f.i~..l....l~~:U-~:!:!i.-X:J..!l!::.,,:_..:.;:!...!::s.i....1..-!:~~ '8.Act
~D    W.i--c.i...;~~-'Ll....i.ni.:=l....:s~:u::.t::~lQ.lU.JU!!t':::.t+l-£114...12£!.....!...~~.:!!:.!.!~~~-AJJ:.~~-==:::-:=-:.....:""°''")
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             Case 1:21-cv-00129-RJS Document 10-9 Filed 12/28/21 PageID.201 Page 7 of 11




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              Disposition by:
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              DQ-!111• ....... CIZ~t,Q
                                        Case 1:21-cv-00129-RJS Document 10-9 Filed 12/28/21 PageID.202 Page 8 of 11




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        Case 1:21-cv-00129-RJS Document 10-9 Filed 12/28/21 PageID.205 Page 11 of 11




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